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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CR-60020-WPD

   UNITED STATES OF AMERICA

   v.

   JONATHAN MARKOVICH and
   DANIEL MARKOVICH,

            Defendants.
   _____________________________________

              JONATHAN AND DANIEL MARKOVICH’S MOTION REGARDING
                  THE SENTENCING AND RESTITUTION HEARINGS

         The undersigned counsel, on behalf and at the request of Defendants Jonathan Markovich

  (“JM”) and Daniel Markovich (“DM”) (collectively, the “Markoviches”), hereby file this motion

  to continue the sentencing and restitution hearings, schedule each sentencing hearing on separate

  days and for an hour each, and permit the Markoviches to appear via Zoom for their respective

  sentencing hearings, and state the following in support thereof:

         The Markoviches’ sentencing hearing is presently scheduled for February 18, 2022. The

  Presentence Investigation Report (“PSI”) for JM was released on January 28, 2022. The PSI for

  DM was released on February 1, 2022. Currently, JM faces a sentencing guideline range of life

  (at a total offense level of 43) and DM faces up to 25 years’ imprisonment (at a total offense level

  of 38). Objections to the Markoviches’ PSIs are due on February 11, 2022.

         Between January 31, 2022 and February 7, 2022, counsel for the Markoviches could not e-

  mail, call, or visit with the Markoviches. The Bureau of Prisons advised as follows in response to

  the undersigned counsel’s numerous requests to see and/or speak with their clients:

         “Hello. Legal visits and legal phone calls are temporarily suspended at FDC Miami
         due to a National lock down until further notice.



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         On Monday, January 31, 2022, at approximately 11:30 a.m., multiple inmates were
         observed fighting at USP Beaumont; responding staff immediately secured the
         area. Four inmates were transported to a local hospital; and two were subsequently
         pronounced deceased by hospital staff. No staff or other inmates were injured and
         at no time was the public in danger. The FBI was notified.

         In an abundance of caution, the BOP has secured all institutions nationwide as a
         temporary measure to ensure the good order of our institutions. It is anticipated this
         security measure will be short-lived and that operations will be restored to their
         prior status as soon as practical. The BOP will continue to monitor events carefully
         and will adjust operations accordingly as the situation evolves.”

         Only just this morning were the Markoviches able to call counsel telephonically. For over

  a week, they received no updates on this case and did not even know that their PSIs were released.

  Counsel have still not been able to see the Markoviches and review their respective PSI reports

  with them. Nor has counsel been able to review objections to the PSIs, sentencing memorandums,

  recent discovery received from the government, or otherwise adequately prepare for the upcoming

  sentencing hearings with their clients. As such, counsel for the Markoviches respectfully request

  that the sentencing hearings in this case be continued, to provide counsel with the requisite time

  necessary to adequately prepare for said hearings.

         Moreover, the Markoviches request that their sentencing hearings be on separate days, as

  they are situated differently and would like to be considered apart from each other, and that the

  hearings be one hour per defendant. The Markoviches are facing extraordinary high sentencing

  guideline ranges and the sentencing hearings will likely be heavily contested. As such, to permit

  witnesses to testify and the parties to adequately present evidence on behalf of each defendant, we

  believe such time allotments are necessary. The Markoviches also request that they be permitted

  to attend the sentencing hearings via Zoom, given the Covid protocols in place by the BOP. If the

  Markoviches are transferred to the Broward County Jail, they are required to quarantine for 14




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  days there and then 14 days upon retransfer back to FDC. During this time, they cannot see or

  speak to counsel, which adversely impacts their ability to prepare for their sentencing hearings.

         Last, pursuant to Title 18, United States Code, Section 3664(d)(5), the undersigned counsel

  requests that the restitution hearing(s) in this cause be continued by ninety (90) days from the

  sentencing hearing dates. As the Court is aware, the defendants will be held jointly and severally

  liable for restitution. The restitution hearing(s) will likely be contested by several defendants, not

  just the Markoviches, and should be held on separate dates so that those issues can adequately be

  addressed.

         The undersigned counsel have conferred with counsel for the Government, Mr. Hayes and

  Ms. De Boer, and they have no objections to the requests sought herein. Counsel for DM requests

  that his sentencing hearing be held the week of March 14th, 2022, and counsel for JM requests that

  his sentencing hearing be held between March 29th, 2022 – April 1st, 2022.



  Dated: February 7, 2022                        Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 7, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF, on behalf of myself and Ms. Descalzo,

  counsel for Daniel Markovich. Counsel for the United States, Mr. Hayes and Ms. De Boer,

  received a true and correct copy via that manner.



                                               s/ Vanessa Singh Johannes
                                               Vanessa Singh Johannes
                                               Attorney for J. Markovich




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